Filed 03/02/20                                                         Case 20-10800                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            02/20
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                4-S Ranch Partners, LLC

  2.   All other names debtor
       used in the last 8 years
       Include any assumed           Four S Ranch Partners LLC
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    264 I Street
                                    Los Banos, CA 93635-9363
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Merced                                                          Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)


  6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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  Debtor    4-S Ranch Partners, LLC                                                                   Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                         B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  1152

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?
                                          Chapter 7
                                          Chapter 9
                                            Chapter 11. Check all that apply:
                                                               Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                   proceed under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

  9.   Were prior bankruptcy
       cases filed by or against
                                          No.
       the debtor within the last 8       Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                                 When                               Case number
                                                   District                                 When                               Case number


  10. Are any bankruptcy cases
      pending or being filed by a
                                          No
      business partner or an              Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                      Debtor                                                                  Relationship
                                                   District                                 When                           Case number, if known




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
Filed 03/02/20                                                           Case 20-10800                                                                             Doc 1
  Debtor   4-S Ranch Partners, LLC                                                                 Case number (if known)
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or
      have possession of any
                                   No
      real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                              It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                              It needs to be physically secured or protected from the weather.
                                              It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                              Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                              No
                                              Yes. Insurance agency
                                                          Contact name
                                                          Phone



           Statistical and administrative information

  13. Debtor's estimation of      .       Check one:
      available funds
                                           Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
      creditors                                                                    5001-10,000                               50,001-100,000
                                   50-99
                                   100-199                                        10,001-25,000                             More than100,000
                                   200-999

  15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                   $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

  16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                   $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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  Debtor    4-S Ranch Partners, LLC                                                                  Case number (if known)
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      February 26, 2020
                                                    MM / DD / YYYY


                               X   /s/ Stephen W. Sloan                                                     Stephen W. Sloan
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   Managing Member




  18. Signature of attorney    X   /s/ Reno F.R. Fernandez III                                               Date February 26, 2020
                                   Signature of attorney for debtor                                               MM / DD / YYYY

                                   Reno F.R. Fernandez III 251934
                                   Printed name

                                   Macdonald Fernandez LLP
                                   Firm name

                                   914 Thirteenth Street
                                   Modesto, CA 95354
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     (415) 362-0449                Email address


                                   251934 CA
                                   Bar number and State




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   Fill in this information to identify the case:
   Debtor name 4-S Ranch Partners, LLC
   United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                      Check if this is an
                                                  CALIFORNIA
   Case number (if known):                                                                                                                              amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Merced County Tax               Karen D. Adams,                 Property Taxes                                                                                         $367,884.48
   Collector                       CPA
   2222 M Street, 1st
   Floor                           taxcollector@co.m
   Merced, CA 95340                erced.ca.us
                                   (209) 385-7592
   O'Laughlin & Paris              Valerie C. Kincaid              Environmental                                                                                            $31,800.00
   LLP                                                             Attorneys
   2617 K Street, Suite            vkincaid@olaughli               Services
   100                             nparis.com
   Sacramento, CA                  (916) 993-3962
   95816
   O. Ray Sheets                   O. Ray Sheets,                  Accounting                                                                                                 $6,139.38
   Accountancy                     CPA                             Services
   Corporation
   1120 W I Street,                or@orsac
   Suite A                         (209) 826-3503
   Los Banos, CA
   93635
   PG&E                                                            Name on Account:                                                                                       $405,186.02
   P. O. Box 997300                                                Sloan Cattle
   Sacramento, CA                  (877) 311-3276                  Company, LLC
   95889-7300                                                      PG&E Line
                                                                   Extension: Well
                                                                   11, Well 12, Well
                                                                   13, Well 14, Well
                                                                   15, Well 16, Well
                                                                   17
   Rodarakis & Sousa,              George Rodarakis                Legal Services                                                                                           $91,253.16
   APC
   100 Sycamore                    GRodarakis@rods
   Avenue, Suite 101               oulaw.com
   Modesto, CA 95354               (209) 554-5232
   Shannon Pump Co.                Christopher                     Well Service/                                                                                            $11,325.59
   275 S. Highway 59               Shannon                         Repair
   Merced, CA 95341

                                   (209) 723-3904

  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                    Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                     Schedule H: Codebtors (Official Form 206H)
                     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                     Amended Schedule
                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                     Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.

            Executed on          February 26, 2020                       X /s/ Stephen W. Sloan
                                                                           Signature of individual signing on behalf of debtor

                                                                           Stephen W. Sloan
                                                                           Printed name

                                                                           Managing Member
                                                                           Position or relationship to debtor




    Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re      4-S Ranch Partners, LLC                                                                                   Case No.
                                                                                        Debtor(s)                         Chapter        11

                                                             LIST OF EQUITY SECURITY HOLDERS
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

     Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
     business of holder
     Stephen W. Sloan                                                    Member           100%                                       Membership
     264 I Street
     Los Banos, CA 93635-9363


    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

            I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
    have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
    belief.



     Date February 26, 2020                                                       Signature /s/ Stephen W. Sloan
                                                                                                Stephen W. Sloan

                           Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                            18 U.S.C. §§ 152 and 3571.




    Sheet 1 of 1 in List of Equity Security Holders
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                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re      4-S Ranch Partners, LLC                                                                       Case No.
                                                                                      Debtor(s)               Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

    Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
    recusal, the undersigned counsel for 4-S Ranch Partners, LLC in the above captioned action, certifies that the following
    is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
    any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




     February 26, 2020                                                    /s/ Reno F.R. Fernandez III
     Date                                                                 Reno F.R. Fernandez III 251934
                                                                          Signature of Attorney or Litigant
                                                                          Counsel for 4-S Ranch Partners, LLC
                                                                          Macdonald Fernandez LLP
                                                                          914 Thirteenth Street
                                                                          Modesto, CA 95354
                                                                          (415) 362-0449 Fax:(415) 394-5544




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